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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


AYODELE OKE,                                    )
                        Plaintiff,              )
                                                )         C.A. No. 18-323 Erie
                                                )
                 v.                             )
                                                )         District Judge Susan Paradise Baxter
MICHELE CROWUTHER,                              )         Magistrate Judge Richard A. Lanzillo
              Defendants.                       )




                                     MEMORANDUM ORDER


       Plaintiff Ayodele Oke, an inmate incarcerated at the State Correctional Institution at

Forest in Marienville, Pennsylvania (“SCI-Forest”), initiated this pro se civil rights action on

October 22, 2018, against Defendant Michele Crowuther, a Unit Manager at SCI-Forest. The

case was referred to United States Magistrate Judge Richard A. Lanzillo for report and

recommendation in accordance with the Magistrates Act, 28 U.S.C. § 636(b)(1), and Rules

72.1.3 and 72.1.4 of the Local Rules for Magistrates. This matter was subsequently assigned to

the undersigned, as presiding judge, on May 7, 2019, with Judge Lanzillo remaining as the

referred Magistrate Judge for all pretrial proceedings.

       In his pro se complaint, Plaintiff claims that Defendant retaliated against him in violation

of the first amendment of the United States Constitution. On January 13, 2020, Defendant filed a

motion for summary judgment [ECF No. 40], to which Plaintiff filed a response and opposition

brief [ECF Nos. 47, 48]. On August 7, 2020, Judge Lanzillo issued a Magistrate Judge’s Report

and Recommendation (“R&R”) recommending that Defendant’s motion for summary judgment

be granted. [ECF No. 50]. Plaintiff has since filed timely objections to the R&R [ECF No. 53],
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which essentially restate the same arguments raised in his brief in opposition to Defendant’s

summary judgment motion.

       After de novo review of the complaint and documents in the case, together with the report

and recommendation and objections thereto, the following order is entered:

         AND NOW, this 25th day of September, 2020;

         IT IS HEREBY ORDERED that Defendant’s motion for summary judgment [ECF No.

40] is GRANTED, and judgment is entered in favor of Defendant and against Plaintiff on all

claims in this case. The report and recommendation of Magistrate Judge Lanzillo, issued August

7, 2020 [ECF No. 50] is adopted as the opinion of the court.

         The Clerk is directed to mark this case CLOSED.


                                                                              ____________
                                                      SUSAN PARADISE BAXTER
                                                      United States District Judge


cc:      The Honorable Richard A. Lanzillo
         U.S. Magistrate Judge
